                                                                                  cœ RK's OFFICEU.S.DIST.K URT
                                                                                         AT>      Oc ,VA
                                                                                               FILED

                                                                                          JAh 1 12210
                                                                                      JUm C.DUDLEY CLERK
                          IN THE UN ITED STATES DISTRICT COU RT                      BY;
                         F0R THE W ESTERN DISTRICT OF VIRGINIA
                               CHARLOU ESVILLE DIV ISION


 STEVEN E.CLEM ,

        Plaintiff,                                      CivilAction N o.3:18CV00049

 V.                                                     M EM O M NDU M O PINIO N

 SCOTT H .JEN KINS,individually and                     By:H on.G len E.Conrad
 in hisofficialcapacity asSheriffof                     SeniorUnited States DistrictJudge
 CulpeperCounty,V irginia,etal.,

        D efendant.


        In the instant action,which w as rem oved from the Circuit Courtof Culpeper County,

 StevenClem assertsclaimsunder42U.S.C.j1983andVirginialaw againstScottJenkins,M ason
 M ays,Brent Coffey,Charles Burgoon,Jam es Fox,the Com m onw ea1th of Virginia, and four

 unknow n defendants.' The case is presently before the court on m otions to dism iss filed by

 Jenkins,M ays,Coffey,Fox,and the Com m onwealth.z Forthereasonsthatfollow , theplaintiff's

 claimsunderj 1983 willbe dismissed withoutprejudice pursuantto FederalRule ofCivil
 Procedure 12(b)(6). Thecourtwilldeclineto exercisesupplementaljurisdiction overthestate
 law claimsatthistime,dismissthoseclaimswithoutprejudice,andpermittheplaintifftofilean
 am ended com plaint.




        lAn additionaldefendant,CulpeperCounty,wasdism issed from the case priorto rem oval.

        2TherecordrevealsthatBurgoonhasnotbeenservedwithprocessandthatthetimeforeffectingservicehas
 exqired. Consequently,iftheplaintiffelectstofileanamendedcomplaintthatnamesBurgoonasadefendant,the
 plalntiffwillbeorderedtoshow causewhytheclaimsagainstBurgoon shouldnotbedism issedunderFederalRuleof
 CivilProcedure4(m). See.e.a..Boldenv.CitvofToneka.441F.3d 1129,1142(10thCir.2006)((((T)he120-day
 periodprovidedbyRule4(m)isnotrestartedbythefilingofanamendedcomplaintexceptastothosedefendants
 newlyaddedintheamendedcomplaint'').



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                                      FactualBackzround

        The follow ing factualallegations,taken from theplaintiff'scom plaiht,are accepted astrue

 forpurposesofthependingmotions. SeeEricksonv.Pardus,551U.S.89,94 (2007)(%ç(W )hen
 rulingonadefendant'smotiontodismiss,ajudgemustacceptastruea11ofthefactualallegations
 containedinthecomplaint.'').
        Clem is employed by the Sheriff of Spottsylvunia County. O n June 23,2016,he and

 Tim othy Chilton,a police oftscer for the Tow n of Culpeper,visited two vineyards w ith their

 respective girlfriends. Overthe course of the afternoon,Clem Csconsum ed two sm allglasses of

 wine.'' Compl.jg13,Dkt.No.1-1.
        The group left the vineyards in separate vehicles driven by Clem and Chilton. At

 approxim ately 5:43 p.m .,w hile driving w estbound on V irginia Route 3 in Culpeper County,

 Chilton pulled over onto the shoulder of the road,and Clem follow ed behind him . Chilton's

 girlfriend gotinto theback ofClem 'svehicle,so thatChilton could drive straightto w ork. Sdsoon

 thereafter,Clem drovehiscarontotheroadwayin frontof(aqsherifiscardriven by (Charlesq
 Burgoon.'' Id.!16.
        Clem alleges that Burgoon,w ho was then em ployed as a Culpeper County Sheriff's

 deputy,m istakenly believed thatClem had driven offthe roadway when,in fact,he had reentered

 thetraffic lane from aparked position. Perceiving Clem 'sdriving to beerratic,Burgoon initiated

 a traffic stop. Clem pulled overim m ediately in a nearby parking Iot.

        UponapproachingClem'svehicle,Burgoontçdetectedanodorofalcoholin(the)vehicle,''
 and indicated thathe ççsuspected thatClem wasdriving w hile underthe intluence ofalcohol.'' Id.

 !18. DuringhisinteractionswithClem,BurgoondiscoveredthatChilton'sgirlfriendwasinthe
 vehicle. Burgoon then called forassistance from the Virginia State Police,purportedly because




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 hew asaware oftheSspoliticalrivalry''between Chilton and ScottJenkins,the SheriffofCulpeper

 County. 1(.
           1aj20. WhileBurgoonwaswaitingforassistance,JamesFoxandfourotherunknown
 deputiesappearedonthescene. J.
                              IJ.,!21.
        M ason M ays,a Virginia State Police trooper,subsequently anived atapproxim ately 5:55

 p.
  m.andC
       sconferredwi
                  thBurgoon.
                           ''1d.!24.UnlikeBurgoon,SaysS'
                                                       claimedtodetectastrong
 odorofalcohol(emitting)from Clem'sperson,''ratherthanthevehicleitself. 1d.!27. M ays
 directedClem todsblow intoaportablebreathtestmachine.'' ld.!28. Priortodoingso,tsM ays
 did notread the im plied consent law''to the plaintiff. ld. Clem ,w ho was using sm okeless

 tobacco at the tim e, Ssasked M ays to w ait ten m inutes to allow the residualm outh alcohol to

 dissipate,butM aysrefused.'' 1d. Afterthe portable breath testSipurportedly registered a breath

 alcoholcontentof0.111percent,''M aysplaced Clem underarrestfordriving underthe influence.

 1d.!!29,33.
        M aysthen transported Clem to the CulpeperPolice Departm entforthe perform ance ofan

 ççevidentiarybreathtest.'' Ld.
                              us!37. Clem allegesthathissmokelesstobaccorenderedtheresults
 oftheportablebreathtestinvalid,andthathetcrepeatedlystatedhisdesiretotaketherevidentiary)
 breathtestin ordertoprovethathewassober.'' Id.!!36,39. Maysbegan administeringthe
 evidentiary breath test atapproxim ately 7:25 p.m . A lthough Clem was S'cooperative,''M ays

 dsabruptly aborted the breath testbefore com pleting it''and advised dispatch thathe w as going to

 transportClem tothehospitalforabloodtest. Id.!!40,43.
        W hile en routeto the hospital,SsM aysreceived a telephone calland then abruptly changed

 course and droveto the magistrate'soffice insteàd ofthehospital.'' 1d.! 47. Burgoon was
 waiting atthem agistrate'sofficew hen M aysarrived w ith Clem . itl
                                                                   M aysand Burgoon soughtand

 obtainedamisdemeanorDUIwarrantagainstClem.'' JZ !49. Maysalso(ssoughtandobtained




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 a civilrefusalsum m ons against Clem on the basis of the false claim that Clem had given an

 insufficientbreath sample''during theadministration ofthe evidentiary breath test. 1d.! 50.
 Both the DU Icharge and the civilrefusalsumm onswereultim ately dism issed on October4,2016.

 1d.!53.
                                       ProceduralH istory

        On June 4, 2018, Clem filed the instant action in state coul'
                                                                    t against Jenkins,M ays,

 Burgoon, Coffey,Fox,Culpeper County, the Com m onw ea1th of Virginia, and four unknow n

 defendants. The complaintincludesthe following claims:false arrest(CountOne);battery
 (CountTwo);false imprisonment(CountThree);civilconspiracy (CountFour);violation of
 FourthAmendmentrightsunder42 U.S.C.j 1983 (CountFive);maliciousprosecution (Count
 Six);andgrossnegligence(CountEightl-3
        On June 27,2018,the state courtgranted Culpeper County's dem urrer. The action was

 thenremovedtothiscourtonthebasisoffederalquestionjurisdiction. Jenkins,Mays,Coffey,
 Fox,and the Com m onw ealth ofV irginia have since m oved to dism issthe com plaintunderRule

 12(b)(6). In hiswritten response to the defendants'motions,Clem acltnowledged thatthe
 com plaintpresently containsinsufficientfactualallegationsto statea claim againstFox,Coffey,or

 the Com monwealth, and he requested that the claim s against these defen'dants be dism issed

 withoutprejudice. Clem likewiseacknowledgedthathiscurrentcomplaintfailstostateclaims
 forbattery,civilconspiracy,and grossnegligence againstM aysand Jenkins,and he requegted that

 theseclaimsbedismissedwithoutprejudice.
        The courtheld ahearing on thepending m otionson October2,2018. D uring thehearing,

 Clem indicated that he possesses substantial additional facts that were not included in the


        3 The complaintcontainsno CountSeven.




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 complaint that w as originally filed in state court. Accordingly,Clem requested thatthe court

 granthim leave to am end any claim sthatare found to be inadequately pled. The matter isnow

 ripefordisposition.

                                      StandardsofReview

        Rule12(b)(6)oftheFederalRulesofCivilProcedurepermitsapartytoseekdismissalfor
 failuretostateaclaim uponwhichreliefcanbegranted. Sç-
                                                     l-hepurposeofaRule12(b)(6)motion
 istotestthesufficiencyofacomplaint.'' Edwardsv.CityofGoldsboro.178F.3d231,243(4th
 Cir.1999). Whendecidingamotiontodismissunderthisrule,thecourtmustacceptastrueall
 well-pleaded allegations and draw al1 reasonable factual inferences in the plaintiff's favor.

 Erickson,55lU.S.at94. çdW hileacomplaintattackedbyaRule12(b)(6)motiontodismissdoes
 not need detailed factual allegations, a plaintifps obligation to provide the grounds of his

 entitlem entto reliefrequires m ore than labels and conclusions,and a form ulaic recitation ofthe

 elementsofacauseofactionwillnotdo.'' BellAtl.Corp.v.Twombly,550U.S.544,555(2007)
 (internalcitationandquotationmarksomitted). Tosurvivedismissalforfailuretostateaclaim,
 $$acomplaintm ustcontain sufficientfactualm atter,accepted astrue,to tstate aclaim forreliefthat

 isplausibleon itsface.''' Ashcroftv.Iqbal,556U.S.662,678(2009)(quotingTwombly,550
 U.S.at570).
        Rule 15 of the Federal Rules of Civil Procedure provides that a party m ay am end his

 pleadingwithleaveofcourqwhichshallbefreelygivenwhenjusticesorequires. Fed.R.Civ.P.
 15(a)(2). TheUnitedStatesCourtofAppealsfortheFourthCircuithasheldthatSsleavetoamend
 shouldbedeniedonlywhentheamendmentwouldbeprejpdicialtotheopposingparty,therehas
 been bad faith on the partofthe m oving party,or am endm entw ould be futile.'' M atrix Capital

 M gmt.Fund.LPv.Bearinapoint.Inc.,576F.3d172,193(4thCir.2009).




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                                             D iscussion

       1.      Claim s under federalIaw

       ThecourtwillfirstaddressClem'sclaimsunder42 U.S.C.j 1983,which imposescivil
liability on any person acting under color of state law to deprive another person of rights and

privilegessecuredbytheConstitutionandlawsoftheUnitedStates. Seç42U.S.C.j1983. ln
CountFive,theplaintiffclaimsthathe wasarrested w ithoutprobable causeby Burgoon and M ays

in violation ofhis rights underthe Fourth A m endm ent,and thatBurgoon and M ays ddacted atthe

behestofJenkins''in arresting him. Compl.!! 76,81;see also id.! 42 (asserting,upon
 infonmationandbelietthatçslenkinspressuredBurgoontoarrestC1em''). Clem alsoclaimsthat
he w as 'ssmaliciously prosecuted by Jenkins, M ays and Burgoon,'' and that these defendants

Sçactged)in concertwithCoffey,JohnDoes 1-4,andFox''in obtaining$+0thcriminaland çivil
process''againsthim. ld.!77.
        Jenkins,Mays,Coffey,andFoxmovedto dismissCountFiveunderRule 12(b)(6). As
 indicated above, Clem acknowledged in response to the defendants' m otions that the current

 com plaintdoes not contain sufficientfactualallegations to state a claim against Coffey or Fox.

A lthough the plaintiffopposed the defendants'm otionsw ith respectto the claim sagainstJenkins

 and M ays,the courtconcludes,forthe following reasons,thatthe com plaintfailsto state a claim

againstany oftheindividualdefendants/
        Sc-f'
            he Fourth A m endm entprohibits law enforcem entofficers from m aking unreasonable

seizures,and the seizure of an individualeffected withoutprobable cause is unreasonable.''
       4Burgoon, for whom no proof ofservice has been provided,hasnotm oved fordism issal. N or have the
unidentifieddefendants. Nonetheless,thecourtwillsuaspontedismissthe j 1983claimsagainstthesedefendapts
forthereasonssetforthherein. SeeErilineCo.S.A.v.Johnson,440F.3d642,655n.10(4thCir.2006)(çdWherea
complaintplainly failstostateaclaim forreliefadistrictcourthas$nodiscretion'buttodismissit.'')(citing54
CharlesAlanWright& ArthurR.Miller,FederalPracticeandProcedure91357(2ded.1990(       9;seealsoTavlorv.
Acxiom Corp.,6l2F.3d325,340(5thCir.2010)($$Whilethedistrictcourtdiddismisssuaspontesomedefendants
whodidnotjointhemotiontodismiss,thereisnoprejudicetotheplaintiffsinaffinningthejudgmentinitsentirety
becausetheplaintiffsmakethesameallegationsagainstalldefendants.n).
                                                  6


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 Brooksv.CityofW inston-salem,85F.3d178,183(4thCir.1996)(citingGraham v.Connor,490
 U.S.386,396-97 (1989). The United States Coul'tof Appeals forthe Fourth Circuithas
 explainedthatStlajclaim forfalsearrestallegesthatawarrantlessarrestlackedprobablecause,''
 whereas $<a claim for maliciousprosecution alleges thatan arrestmade pursuantto a warrant

 lackedprobablecause.'' Smithv.Mundav,848F.3d248,257(4thCir.2017). Thus,aplaintiff
 m ustallege facts dem onstrating thathe was arrested w ithoutprobable cause to state a claim for

 falsearrestormaliciousprosecutionunderj1983. See Streetv.Surdyka,492 F.2d 368,372-73
 (4th Cir.1974)(sçl-fqhereisno causeofaction fortfalse an-est'undersection 1983 unlessthe
 arresting offscer lacked probable cause.'');see also Smith, 848 F.3d at257 (ç$A malicious
 prosecution claim under j 1983 is properly understood as a Fourth Amendmentclaim for
 unreasonable seizure which incorporates certain elem ents ofthe com m on law tort. To state such

 aclaim,aplaintiffmustallegethatthedefendant(1)caused(2)aseizureoftheplaintiffpursuant
 to legalprocess unsupported by probable cause,and (3) criminalproceedingstenninated in
 plaintiffsfavor.'')(citationsandinternalquotationmarksomitted).
        Clem firstcontendsthatM aysand Burgoon lacked probable cause to arresthim fordriving

 whileintoxicated. TheSupremeCoul'tççrepeatedlyhasexplainedthatSprobablecause'tojustify
 an arrest m eans facts and circum stances w ithin the officer's know ledge that are sufficient to

 warranta prudentperson,orone ofreasonable caution,in believing,in the circum stancesshown,

 thatthe suspecthas com m itted,is com m itting,or is aboutto com m itan offense.'' M ichiaan v.

 DeFillirmo,443 U.S.31,37 (1979). ltEtrequiresmorethan (baresuspicionn'''but$;lessthan
 evidencenecessarytoconvict. Porterfieldv.Lott,156F.3d563,569(4thCir.1988). Morrover,
 the Suprem e Courthas m ade clear thathindsightm ay not be em ployed in evaluating probable
                                          .




 cause. SeeFloridav.Harris,568U.S.237,249(2013)rçAndstillmorefundamentally,wedonot




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 evaluateprobablecauseinhindsight....''). Accordingly,anofficer'sreasonablemistakeoffact
 does notdefeathis determ ination ofprobable cause. See.e.g.,U nited Statesv.W illiam s,85 F.

 App'x341,347(4thCir.2004)(çThefactthattheoftscerswerefactuallymistakendidnotrender
 thestopillegal....<Anofficer'sreasonablemistakeoffactmayprovidetheobjectivegroundsfor
 reasonablesuspicionorprobablecauserequiredtojustifyatrafficstop ....''')(quotingUnited
 Statesv.Chanthasouxat,342F.3d1271,1276(11thCir.2003)).
           UnderV irginia law ,it is Ssunlaw fulforany person to drive oroperate any m otorvehicle

 . . .   (i)whilesuchpersonhasabloodalcoholconcentrationof0.08percentormorebyweightby
 volum e or0.08 gram sorm oreper210 litersofbreath as indicated by achem icaltestadm inistered

 asprovidedinthisarticle,''orçttii)whilesuchpersonisundertheintluenceofalcohol.'' Va.Code
 j18.2-266. Whenastateorlocallaw enforcementofficerhasprobablecausetosuspectaperson
 ofdrivingwhileintoxicatedinviolationofj18.2-266,theoffkermayarrestthepersonwithouta
 warrantw ithin three hours of the alleged offense,ç'whetherornotthe offense w as com m itted in

 suchoffcer'spresence.'' Va.Codej19.2-8l(D).
           VirginiaCodej18.2-j67providesthatanypersonsuspectedofdrivingwhileintoxicated
 ççshallbe entitled, if such equipm ent is available,to have his breath analyzed to determ ine the

 probablealcoholiccontentofhisblood.'' Va.Codej18.2-267(A). Thestatutefurtherprovides
 thatSsgwlheneverthebreathsampleanalysisindicatesthatalcoholispresentintheperson'sblood,
 theofficermaychargethepersonwithEdrivingwhileintoxicatedl.'' 1d.j18.2-267(17). Virginia
 appellatecourtshave explained thatEtltlhefunction ofthe preliminary breath testunderCode
 5 18.2-267 isto providean independentmeansto determineand resolvequestionsconcerning
 probablecause.'' Jonesv.Town ofMarion,508 S.E.2d 921,923 (Va.Ct.App.1999). E$By
 providing in Code j 18.2-267 thatthe officermay charge an individualwith driving while


                                                  8


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 intoxicated on the basis ofthe results ofa prelim inary breath test,the legislature has recognized

thatthistestisreasonably trustw orthy to show thataperson hasconsum ed alcoholforpurposesof

 determ ining whether probable cause exists to m ake an arrest.'' Stacv v.Com m onw ealth,470

 S.E.2d584,586(Va.Ct.App.1996);seealsoid.id.at587($$TheclearpurposeofsubsectionD,
 which authorizestheoffcertochargeasuspectwhosepreliminarybreath testregisterspositivefor

 consumption ofalcohol,isto recognize thatthe testissufficiently reliable to prove thata person

 hasconsum ed alcoholand thatthefactofconsum ption m ay furnish reason to believe thataperson

 isintoxicated.''). Accordingly,(slilfthe breath analysisrevealsthatalcoholispresentin the
 suspect'sblood,thepoliceoftscerm ay arrestthe suspect.'' 1d.at586;see also Com m onw ea1th v.

 Stewart,91Va.Cir.164(Va.Cir.Ct.2015)(ssBasedonStewart'sgpreliminarybreathtest)results,
 thepoliceofficerhadprobablecausetoarrestherfordrivingwhileintoxicated.''l.s
        Upon review of the record and applicable caselaw ,the court concludes that the facts

 alleged in Clem 'scom plaintdo notplausibly suggestthatM aysorBurgoon lacked probable cause

 to arrestClem fordriving underthe intluence. Clem acknowledges in the com plaintthathe had

 consum ed tw o glasses of w ine prior to driving;that Burgoon believed,albeit m istakenly,that

 Clem had erratically driven offthe roadw ay;thatBurgoon detected the odorofalcoholem anating

 from Clem 'svehicle;thatBurgoon conferred w ith M ays upon the trooper'sarrival;and thatM ays

 reported detecting the odor of alcoholem anating from Clem 's person. See.e.2.,W ohlford v.

 Commonwealth,351S.E.2d 47,49 (Va.Ct.App.1986)($(The moderatesmellofalcohol,the
 mannerin w hich the vehicle wasoperated,and the adm ission ofconsum ption ofalcoholprovided

 probable cause forthe arrest.''l. Additionally,and perhapsmostimportantly,the complaint

       5Althoughtheresultsofapreliminarybreathtestarenotadmissibleattrialforpurgosesofprovingguilt,Va.
 Code9 12.2-267(E),VirginiaapgellatecourtsSdhaveheld thattheresultsofthepreliminary breathtestmay be
 admitted into evidence ata pretrlalprobable cause orsuppression hearing.
                                                                        '' W oolridce v.Commonwealth,512
 S.E.2d153,157(Va.Ct.App.1999)(citingStacv.470S.E.2dat587).




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 indicatesthatthe prelim inary breath testperformed on the scene revealed a blood alcoholcontent

 above the legallim it. W hile Clem allegesthathisrecentwine consum ption and use ofsm okeless

 tobaccoGçrenderedtheportablebreathtestinvalid,''Compl.!31,such aconclusory statementis
 insufficientto fdraise arightto reliefabovethe speculative level.''6 Twom blv, 550 U.S.at555;see

 also Painter'sM illGrille.LLC v.Brown,716 F.3d 342,350 (4th Cir.2013)(ç(1tisnow well
 established that m ere conclusory and speculative allegations are not sufficient to w ithstand a

 motion to dismiss.'')(citing Twombly and lqbal). The same istrue forClem'sassertion that
 BurgoonandMaysunlawfullySûactedatthebehestofJenkinsinarrestinghim.'' 1d.jg81;seealso
 lqbal,556 U.S.at678 (emphasizingthatthefederulpleading standard çidemandsmorethan an
 unadorned,the-defendant-unlawfully-ha= ed-meaccusation'').
         ln sum ,the courtis constrained to conclude that the com plaint lacks sufficient factual

 content from w hich the court could reasonably infer that Clem 's arrest for driving w hile

 intoxicated wasunsupported by probable cause. A ccordingly,Clem 's claim offalse arrestunder

 j 1983 issubjecttodismissalunderRule12(b)(6),asishisclaim thatthathewasmaliciously
 prosecuted fordriving while intoxicated. See Smith,848 F.3d at253 (analyzing malicious
 prosecution claim underj 1983 forCtwhethertherewasprobable causeto arrestSmith''). ln
 reaching thisdecision,thecourtrecognizesthatClem allegesthatM aysççfalselyswlorejinhis
 criminalcomplaintthatClem had given a deficientsample on the gevidentiary)breath test''
 administeredatthepolicedepartment. Compl.!49. However,Clem doesnotcontendthatthe
 issuance ofthe w arrantfordriving while intoxicated w asSçpredicated solely''on thisalleged false


        6 Clem alsoallegesthatGM aysdidnotreadtheim pliedconsentlaw''priortoadm inisteringtheprelim inary
 breathtest. Compl.!28. WhileVirginiaCodeû12.2-267(12)requires1aw enforcementofficerstoadviseaperson
 oftherighttorefusetotakeapreliminarybreathtest,Rthefailuretocomply(withthisprovision)doesnot,standing
 alone,invalidatethearrestorrenderthesubsequentlyadm inisteredbloodorbreathtestinadm issible.'' W ohlfordv.
 CommonweaIth.351S.E.2d47,49(Va.1926).

                                                    10

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 statement. Manuelv.City ofJoliet,137 S.Ct.911,918 (2017). Nordoesthe complaint
 plausibly suggestthatsuch statem entwas necessary to establish probable cause in supportofthe

 issuance ofthe warrant. See W ilkes v.Young,28 F.3d 1362,1365 (4th Cir.1994)(çç1tis
 w ell-established thata false or m isleading statem entin a w an-
                                                                 antam davitdoes notconstitute a

 FourthAmendmentviolationunlessthestatementisnecessarytothefindingofprobablecause.'').
        To the extentthatClem also alleges thatthe individualdefendants Sçsoughtand obtained a

 civil refusal sum m ons against Clem on the basis of the false claim that Clem had given an

 insufficientbreath sam ple,''appellate courtshavem adeclearthatt<asum m onsalone isinsuffcient

 to supportaFourth Am endm entseizure claim .'' Glassv.A nneA rundelCty.,716 F.A pp'x 179,

 l80n.l(4thCir.2018)(collectingcases);seealsoRyuv.W hitten,684F.App'x308,311(4thCir.
 2017)($$A summonsrequiringnomorethanacourtappearance,withoutadditionalrestrictions,
 doesnotconstituteaFourthAmendmentseizure.'')(collectingcases);Bielanskiv.Cty.ofKane,
 550F.3d632,642(7thCir.2009)(:tNocourthasheldthatasummonsaloneconstitutesaseizure,
 and we conclude that a sum m ons alone does not equal a seizure for Fourth Am endm ent

 purposes.''). Consequently,based on the current allegations,the courtconcludes that the
 com plaintdoes notstate a plausible claim form aliciousprosecution arising from the issuance ofa

 summonsforaciviloffense. Compl.!50;seealsoVa.Codej18.2-268.34A)($$1tisunlawfulfor
 apersonwhoisarrestedforaviolationofjl8.2-266...tounreasonablyrefusetohavesamplesof
 hisbreathtakenforchemicalteststodeterminethealcoholcontentofhisblood asrequiredby j
 18.2-268.2....A firstviolation(ofthissubsection)isaciviloffense.'').
        Forthese reasons,thecourtw illgrantthepending m otionsto dism issw ith respectto Count

 Five, This count, as currently pled,fails to state a viable claim for false arrest or m alicious

 prosecution under the Fourth A m endm ent, particularly in light of the standards set forth in




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 Twom bly and Igbal.7 w hilethe courtquestionswhetherCountFivecould be am ended to survive

 a subsequent m otion to dism iss, Clem indicated during the hearing that there are substantial

 additional facts that could be alleged in support of his original claim s. Based on Clem 's

 representations,the liberalpolicy favoring am endm ent,and thefactthatthecurrentcom plaintwas

 draftedtocomplywithstate,ratherthanfederal,pleadingstanbards,thecourtwilldismissCount
 FivewithoutprejudiceandpermitClem tofsleanamendedcomplaint. Seepe.:.,UnitedStatesex
 rel.W ilsonv.KelloaRBrown& Root.lnc.,525F.3d370,376(4thCir.2008)(notingthatleaveto
 amendtsshouldbegrantedliberally''underRule15).
        1I.     C laim s under state Iaw

        ln light ofthe court's disposition ofthe federalclaim s asserted in CountFive,the court

 declinestoexercisesupplementaljurisdictionovertheplaintiff'sstatelaw claimsatthistimeand
 willdismissthoseclaimswithoutprejudice. See28U.S.C.j 1367(c)(3)(authorizingadistrict
 courttodeclinetoexercisesupplementaljurisdictionwhenittthasdismissedallclaimsoverwhich
 ithasoriginaljurisdiction''). However,iftheplaintiffelectstofileanamendedcomplaintunder
 j1983,hemayreassertanysupplementalclaimsunderstate1aw thathebelievesaresupportedby
 the factual allegations contained therein. See. e.a., H odae v. Cordish Cos. lnc.. N o.

 l:17-cv-00254,2017 U.S.Dist.LEXIS 109531,at*18 (D.Md.July l4,2017)(declining to
 exercisesupplementaljurisdictionoverclaimsunderstatelaw butpermittingplaintifftoreassert
 suchclaimsifhefiledanamendedcomplaintthatstatedaviablefederalclaim).
                                             Conclusion

        Forthe reasons stated,the courtw illgrantthe pending motions to dism iss with respectto

 theplaintiff'sclaimsunderj 1983 and dismissthoseclaimswithoutprejudice. Theremaining

         1In lightofthe foregoing analysis,the courtneed notaddressthe Eleventh Amendmentand qualified
 imm unity argumentsmadeby Jenkinsand M ays.




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 clnlmqlmderstatelawW llbedlsmissedwiioutpreludicepursnnntto28U.S.C.j1367(c)(3),and
 theplainti/ willbegranted leavetoSle an amendedcomple t.

       TheClerk isdirectedto sendcoplesofthism emorandum opinion andtheaccompanying

 orderto allconnqelofrecord.

       DATED:This(lY day ofJanuary, 2019.



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